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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KIMYETTA KING,                       :
                                     :
                  Plaintiff,         :
                                     :
                         v.          :     Civil Action No. 18-486
                                     :
CITY OF PHILADELPHIA, et al.,        :
                                     :
                  Defendants.        :


                                    ORDER


      AND NOW, this _____ day of ___________, 2018, upon consideration of

Defendants City of Philadelphia and Sgt. Nancy Quinn’s Motion to Dismiss, and

any response thereto, it is hereby ORDERED that the Motion is GRANTED. All

claims against Defendants City of Philadelphia and Sgt. Nancy Quinn are

dismissed.




                                     BY THE COURT:



                                     _________________________
                                     GENE E.K. PRATTER, J.
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KIMYETTA KING,                         :
                                       :
                   Plaintiff,          :
                                       :
                          v.           :       Civil Action No. 18-486
                                       :
CITY OF PHILADELPHIA, et al.,          :
                                       :
                   Defendants.         :



DEFENDANTS CITY OF PHILADELPHIA AND SGT. NANCY QUINN’S MOTION
           TO DISMISS FOR FAILURE TO STATE A CLAIM


      Defendants City of Philadelphia and Sgt. Nancy Quinn file this Motion to

Dismiss for Failure to State a Claim under Fed. R. Civ. Pro. 12(b)(6), seeking that

all claims against them be dismissed. Defendants respectfully requests that this

Court dismiss these claims brought against Defendants on the grounds more fully

described in the supporting memorandum of law.


                                                      Respectfully Submitted,

                                                      CITY OF PHILADELPHIA
                                                      LAW DEPARTMENT

Date: April 2, 2018                             BY:    s/ Benjamin R. Patchen
                                                      Benjamin R. Patchen
                                                      Assistant City Solicitor




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                 IN THE UNITED STATES DISTRICT COURT
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KIMYETTA KING,                         :
                                       :
                   Plaintiff,          :
                                       :
                          v.           :       Civil Action No. 18-486
                                       :
CITY OF PHILADELPHIA, et al.,          :
                                       :
                   Defendants.         :



  DEFENDANTS CITY OF PHILADELPHIA AND SGT. NANCY QUINN’S
MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO DISMISS FOR
                FAILURE TO STATE A CLAIM


      Defendants City of Philadelphia and Sgt. Nancy Quinn submit this

Memorandum of Law in Support of their Motion for to Dismiss for Failure to State a

Claim under Fed. R. Civ. P. 12(b)(6). Plaintiff’s 42 U.S.C. § 1983 claim brought

against the City of Philadelphia should be dismissed because Plaintiff failed to

properly identify a custom or policy of the City of Philadelphia that was the moving

force behind any constitutional injury. Second, her claim should be dismissed

against Defendant Sgt. Nancy Quinn because Plaintiff has failed to plead sufficient

facts to show that there was a hostile work environment because of her race and

because the alleged hostile work environment was not “severe or pervasive.”




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      I.      FACTUAL SUMMARY1

           Plaintiff filed her initial Complaint on February 5, 2018, where she alleged

that the Defendants violated her rights to equal protection under the Fourteenth

Amendment, violated Title VII, Pennsylvania Human Relations Act (PHRA), and

Philadelphia Fair Practices Ordinance (PFPO) by intentionally discriminating

against Plaintiff based on her race, creating a hostile work environment, and

retaliating against her. See generally Complaint. On March 6, 2018, Defendants

filed a Motion to Dismiss the Complaint for failure to state a claim. On March 20,

2018, Plaintiff filed an Amended Complaint, alleging only that the Defendants

violated her rights to equal protection under the Fourteenth Amendment by

subjecting her to a hostile work environment. Amended Complaint.

           Plaintiff is a female African American Police Officer who currently works in

the Court Liaison Unit (“CLU”) of the Philadelphia Police Department. Am. Compl.

¶ 3. Defendant Sergeant Nancy Quinn is Plaintiff’s supervisor at the CLU. Id. ¶ 5.

Plaintiff has alleged that she suffered from a hostile work environment because of

her race and that the hostile work environment violated her rights to equal

protection under the Fourteenth Amendment. Id. ¶¶ 27-38.

           Plaintiff has alleged that the Defendants subjected Plaintiff to a hostile work

environment by: (1) assigning Plaintiff to a more difficult courtroom assignment; (2)

refusing to assign an additional officer to work with Plaintiff; (3) refusing to

transfer Plaintiff to a less demanding room; (4) punishing and harassing Plaintiff’s


1   For the purposes of this Motion to Dismiss, Defendant accepts the facts as pled by Plaintiff as true.


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peers for assisting Plaintiff; (5) denying Plaintiff’s vacation request and (6)

reprimanding Plaintiff. Id. ¶¶ 16-26. Further, Plaintiff alleges that Defendant

Quinn’s conduct was so “severe and extensive, it qualifies as a custom and/or

practice of the PPD’s CLU.” Id. ¶ 15.

            With respect to comparators, Plaintiff has also alleged that two white police

officers are assigned to a less busy courtroom and work together. Id. ¶ 16.

      II.      STANDARD OF REVIEW

            To survive a motion to dismiss, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In deciding a motion to dismiss, a court

must determine whether the complaint “pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “The

plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Id. “Where a

complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

stops short of the line between possibility and plausibility of entitlement to relief.”

Id.

            “The tenet that a court must accept as true all of the allegations contained in

a complaint is inapplicable to legal conclusions.” Id. at 678. “Threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not




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suffice.” Id.   Further, “only a complaint that states a plausible claim for relief

survives a motion to dismiss.” Id. at 679.

   III.     ARGUMENT

            a. PLAINTIFF’S 42 U.S.C. § 1983 CLAIM AGAINST THE CITY OF
               PHILADELPHIA FAILS BECAUSE PLAINTIFF HAS NOT
               PROPERLY IDENTIFIED A POLICY OR CUSTOM THAT VIOLATES
               PLAINTIFF’S CONSTITUTIONAL RIGHTS.

       Plaintiff has only alleged that Defendant’s Quinn creation of a hostile work

environment was so severe that it qualified as a custom and/or practice of the Police

Department’s Court Liaison Unit. Thus, Plaintiff fails to state plausible claims

against the City of Philadelphia for violations of Section 1983, and those claims

should be dismissed.

       Municipalities are generally immune from liability under 42 U.S.C. § 1983

except where the municipality’s policy or custom was the moving force behind the

constitutional violation. Watson v. Abington Twp., 478 F.3d 144, 155 (3d Cir. 2007).

A policy exists “when a ‘decisionmaker possess[ing] final authority to establish

municipal policy with respect to the action issues an official proclamation, policy, or

edict.’” Id. (citing Bielevicz v. Dubinon, 915 F.2d 845, 850 (3d Cir. 1990)). Custom

requires that a plaintiff demonstrate that “a given course of conduct, although not

specifically endorsed or authorized by law, is so well-settled and permanent as

virtually to constitute law.” Watson, 478 F.3d at 155. In either case, “a plaintiff

must show that an official who has the power to make policy is responsible for

either the affirmative proclamation of a policy or acquiescence in a well-settled

custom.” Id.


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      Further, the plaintiff bears the burden of providing evidence that the

identified “policy or custom was the proximate cause of the injuries suffered.”

Watson, 478 F.3d at 155. “If…the policy or custom does not facially violate federal

law, causation can be established only by demonstrat[ing] that the municipal action

was taken with ‘deliberate indifference’ as to its known or obvious consequences. A

showing of simple or even heightened negligence will not suffice.” Berg v. Cnty. of

Allegheny, 219 F.3d 261, 276 (3d Cir. 2000).

      Under Fed. R. Civ. P. 8(a)(2), a plaintiff must identify the specific custom or

policy at issue. McTernan v. City of York, PA, 564 F.3d 636, 658 (3d Cir. 2009).

“Mere assertion of an entitlement to relief, without some factual ‘showing,’ is

insufficient[.]” Id. Moreover, where the custom or policy is not facially

unconstitutional and, thus, requires proof of deliberate indifference on the part of

the decisionmaker, a plaintiff must plead facts supporting an inference that such

deliberate indifference exists. Id. at 658-59.

      Plaintiff generally alleges that Defendant Quinn’s creation of a hostile work

environment qualified as a custom and or practice of the Police Department. This

conclusory allegation is insufficient to create liability on the City of Philadelphia

without showing that a “decision maker” was responsible for the conduct or

acquiesced to the conduct. In determining the appropriate “decision maker,” a court

must determine which official has final, unreviewable discretion to make a decision

or take an action. Andrews v. City of Philadelphia, 895 F.2d 1469, 1481 (3d Cir.

1990). The Third Circuit has determined that in the context of the Philadelphia



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Police Department, the Police Commissioner is the policy maker. Id. Further, the

Amended Complaint is replete with allegations specific to Defendant Quinn, not the

City of Philadelphia or the Commissioner of the Police Department. Am. Compl. ¶¶

12-26. Plaintiff has, therefore, failed to meet the pleading standards for municipal

liability claims under Fed. R. Civ. P. 8, and this Court should dismiss those claims.

           B. PLAINTIFF’S 42 U.S.C. § 1983 CLAIM AGAINST SGT. QUINN
              FAILS BECAUSE PLAINTIFF HAS FAILED TO MEET THE
              PLEADING REQUIREMENTS OF A HOSTILE WORK
              ENVIRONMENT CLAIM BECAUSE SHE HAS FAILED TO
              PROPERLY PLEAD THAT THE ACTIONS TAKEN AGAINST HER
              OCCURRED BECAUSE OF HER RACE, AND FAILED TO SHOW
              THAT THOSE ACTIONS WERE “SEVERE OR PERVASIVE”

        Plaintiff has failed to adequately plead a Section 1983 claim against Sgt.

Quinn because she has failed to adequately plead that similarly-situated non-

members of her protected class were treated more favorably or any other non-

conclusory allegations to show that any action was taken against her because of her

race.

        Equal protection discrimination claims are evaluated under the same test as

Title VII claims. St. Mary's Honor Ctr. v. Hicks, 509 U.S. 502, 506 n.1 (1993);

Stewart v. Rutgers, State Univ., 120 F.3d 426, 432 (3d Cir. 1997). To prevail on a

hostile work environment claim, Plaintiff must show that 1) the employee suffered

intentional discrimination because of race, 2) the discrimination was severe or

pervasive, 3) the discrimination detrimentally affected the plaintiff, 4) the

discrimination would detrimentally affect a reasonable person in like

circumstances, and 5) the existence of respondeat superior liability. Mandel v. M &



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Q Packaging Corp., 706 F.3d 157, 167 (3d Cir. 2013) (citation omitted). Plaintiff has

failed to adequately plead that the majority of the actions taken against her were

because of her race, and the remaining allegations are not “severe or pervasive.”

      To be “similarly situated” for purposes of an equal protection claim, the

employees to whom the plaintiff compares himself must be similar to him in “all

relevant respects” except membership in a protected class. Singh v. Wal-Mart

Stores, Inc., No. 98-1613, U.S. Dist. Lexis 8531 at *9 (E. D. Pa. June 10, 1999); see

also Miller v. Delaware Dep’t of Probation and Parole, 158 F. Supp. 2d 406, 411(D.

Del. 2001) (to establish “similarly situated” employee, plaintiff must show that the

employment situation is nearly identical to those of employees whom he alleges

were treated more favorably). In determining whether two employees are similarly

situated, relevant factors include a showing that the two employees dealt with the

same supervisor, were subject to the same standards, and had engaged in similar

conduct without much differentiating or mitigating circumstances as would

distinguish their conduct or the employer’s treatment of them.” McCullers v.

Napolitano, 427 F. App’x 190, 195 (3d Cir. 2011) (quoting Radue v. Kimberly-Clark

Corp., 219 F.3d 612, 617-18 (7th Cir. 2000)).

      Plaintiff’s complaint must aver facts that, under the circumstances, give rise

to an inference of discrimination, or show that the hostile work environment

occurred because of her race. Here, the only relevant allegation is that Plaintiff was

assigned to a more difficult courtroom assignment without the benefit of a partner,

while two white police officers were assigned to work together. While Plaintiff has



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also alleged that she was not allowed to transfer to a less demanding room, that

Defendant Quinn punished and harassed Plaintiff’s peers for assisting Plaintiff,

that Defendant Quinn denied Plaintiff’s vacation request and that Defendant Quinn

reprimanded Plaintiff, she has failed to provide any non-conclusory allegations that

show her race was a factor in any of those decisions. For example, she has failed to

identify any comparators who were treated different than her in those respects nor

is there any non-conclusory allegation that Defendant Quinn took any action

because of Plaintiff’s race.

      Even assuming that Plaintiff’s allegation that she was assigned to a difficult

courtroom occurred because of her race, this is insufficient to plead a hostile work

environment because it fails to meet the “severe of pervasive” requirement. The

“severe or pervasive” standard requires conduct that is sufficient “to alter the

conditions of [the employee’s] employment and create an abusive working

environment.” Moody v. Atlantic City Board of Education, 870 F.3d 206, 214 (3d Cir.

2017)(citing Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 67 (1986) (citation and

internal quotation marks omitted). The question of “whether an environment is

sufficiently hostile or abusive must be judged by looking at all the circumstances,

including the frequency of the discriminatory conduct; its severity; whether it is

physically threatening or humiliating, or a mere offensive utterance; and whether it

unreasonably interferes with an employee’s work performance.” Clark Cty. Sch.

Dist. v. Breeden, 532 U.S. 268, 270-71, (2001) (citation and internal quotation

marks omitted). The stray allegations of a hostile work environment do not contain



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any information about the frequency, nor allegations that there were any physically

threatening or humiliating remarks, nor are there any allegations that the terms

and conditions of Plaintiff’s employment were affected at all. For example, there

are no allegations that her pay was affected all, nor are there any allegations that

any disciplinary action was taken against her.

       Because the Plaintiff has failed to show that the actions taken against her

were because of her race and failed to show that the hostile working environment

was “severe or pervasive,” Plaintiff has failed to meet the pleading requirements of

a hostile work environment claim and her Section 1983 claim should be dismissed

against Sgt. Quinn.

         C. PLAINTIFF’S AMENDED COMPLAINT SHOULD BE DISMISSED
            WITH PREJUDICE BECAUSE FURTHER AMENDMENT TO
            PLAINTIFF’S COMPLAINT WOULD BE FUTILE

      Plaintiff’s Amended Complaint should be dismissed with prejudice because

allowing further amendment to Plaintiff’s complaint would be futile. “[I]n civil

rights cases district courts must offer amendment – irrespective of whether it is

requested – when dismissing a case for failure to state a claim unless doing so

would be inequitable or futile.” Fletcher-Harlee Corp. v. Pote Concrete Contractors,

Inc., 482 F.3d 247, 252 (3d Cir. 2007). An amendment is futile “if the complaint, as

amended would not survive a motion to dismiss for failure to state a claim upon

which relief could be granted.” Smith v. NCAA, 139 F.3d 180, 190 (3d Cir. 1999)

(citation omitted), vacated on other grounds 525 U.S. 459. The District Court does

not abuse its discretion by denying successive amendments where the party already



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has had two chances to state a valid claim. See, e.g., Klein v. Autek Corp., 147 Fed.

Appx. 270, 278-79 (3d Cir. 2005).

      Here, Plaintiff has already amended her complaint once. Because Plaintiff

has already had the opportunity to amend her complaint, and has failed to comply

with the pleading requirements, further amendment would be futile and Plaintiff’s

Complaint should be dismissed with prejudice.

IV.   CONCLUSION

      Defendants City of Philadelphia and Sgt. Nancy Quinn respectfully request

that this Honorable Court grant this Motion and dismiss all claims against them.



                                                      Respectfully Submitted,

                                                      CITY OF PHILADELPHIA
                                                      LAW DEPARTMENT

Date: April 2, 2018                             BY:     s/ Benjamin R. Patchen
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KIMYETTA KING,                        :
                                      :
                   Plaintiff,         :
                                      :
                          v.          :      Civil Action No. 18-486
                                      :
CITY OF PHILADELPHIA, et al.,         :
                                      :
                   Defendants.        :



                           CERTIFICATE OF SERVICE


      I hereby certify that on the date below, the foregoing Motion to Dismiss and

Memorandum of Law has been filed electronically and is available for viewing and

downloading.



                                                    Respectfully Submitted,

                                                    CITY OF PHILADELPHIA
                                                    LAW DEPARTMENT

Date: April 2, 2018                           BY:    s/ Benjamin R. Patchen
                                                    Benjamin R. Patchen
                                                    Assistant City Solicitor
